         Case 18-81138        Doc 32     Filed 07/11/18 Entered 07/11/18 07:24:08                  Desc Notice
                                       Fixing Time For Filing Page 1 of 1
Form NTCFTFC7

                                   United States Bankruptcy Court
                                               Northern District of Illinois
                                                    Western Division
                                                327 South Church Street
                                                  Rockford, IL 61101


In Re:
                                                              Case No. 18−81138
Lorraine Adrienne Dyba                                        :
POB 964                                                       Chapter : 7
Dixon, IL 61021                                               Judge :   Thomas M. Lynch
SSN: xxx−xx−6538 EIN: N.A.
aka Lorraine Adrienne Militano, aka Lorraine Adrienne
Joachim




Debtor's Attorney:                                   Trustee:
Lorraine Adrienne Dyba                               James E Stevens
POB 964                                              Barrick, Switzer, Long, Balsley & Van Ev
Dixon, IL 61021                                      6833 Stalter Drive
                                                     Rockford, IL 61108

                                                     815−962−6611

                            NOTICE FIXING TIME FOR FILING CLAIMS
To the Debtor(s), Creditors, and other Parties in Interest:

A petition under Chapter 7 of the U.S. Bankruptcy Code has been filed by (or against) the above−named debtor(s) on
May 24, 2018 .

1. October 11, 2018 is fixed as the last day for the filing of claims by creditors other than governmental units.

2. November 20, 2018 is fixed as the last day for the filing of claims by governmental units.

In order to have a claim allowed and share in any distribution from the estate, a creditor must file a claim, whether or
not the creditor was included in the schedules filed by the debtor(s). Claims which are not filed on or before the date
fixed as the last day for the filing of claims as specified in #1 and #2 above, will not be timely, except as otherwise
provided by law.

Attorneys must file this claim electronically via the CM/ECF system. Non−Attorneys may file in person or by
mail at the Clerk of the Bankruptcy Court's address shown at the top of the form. A Proof of Claim form
("Official Form B 410") can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerks office.

                                                              For the Court,


Dated: July 11, 2018                                          Jeffrey P. Allsteadt , Clerk
                                                              United States Bankruptcy Court
